           Case 1:14-vv-01004-UNJ Document 33 Filed 11/13/15 Page 1 of 2




      In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-1004V
                                     Filed: October 20, 2015

*************************                             UNPUBLISHED
IRWIN REICH,                                  *
                                              *       Special Master Hamilton-Fieldman
                       Petitioner,            *
v.                                            *       Attorneys’ Fees and Costs; Reasonable
                                              *       Amount Requested to which Respondent
SECRETARY OF HEALTH                           *       Does Not Object.
AND HUMAN SERVICES,                           *
                                              *
                       Respondent.            *
*************************
Nora Constance Marino, Law Offices of Nora Constance Marino, Great Neck, NY, for Petitioner.
Adriana Teitel, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

        On October 16, 2014, Irwin Reich (“Petitioner”) filed a petition for compensation under
the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006)
(“Vaccine Act”). Petitioner alleged that the administration of an influenza (“flu”) vaccine2 on
October 25, 2012 caused his to suffer from Guillain-Barré Syndrome (“GBS”). Petition (“Pet.”)
at 1-4. On July 30, 2015, the undersigned filed a decision dismissing the case for insufficient
proof. Decision, ECF No. 26.

        On October 20, 2015, Respondent filed a “Stipulation of Facts Concerning Attorneys’
Fees and Costs”. Pursuant to their Stipulation, the parties have agreed to an award of $11,000.00
in attorneys’ fees and costs. In accordance with General Order #9, Petitioner’s counsel
represents that Petitioner has not incurred any costs in pursuit of this claim. Stipulation, ECF
No. 31.

       The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to

1
  The undersigned intends to post this unpublished decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107 347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each
party has 14 days within which to file a motion for redaction “of any information furnished by that party
(1) that is trade secret or commercial or financial information and is privileged or confidential, or (2) that
are medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion
of privacy.” In the absence of such motion, the entire decision will be available to the public. Id.
2
  Petitioner also alleged that a shingles vaccination, received on December 10, 2012, caused his injury.
However, this is not a covered vaccine under the Vaccine Act. 42 C.F.R. § 100.3(a).
                                                      1
            Case 1:14-vv-01004-UNJ Document 33 Filed 11/13/15 Page 2 of 2



42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $11,000.00, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Nora
Constance Marino.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                                                   /s/ Lisa D. Hamilton-Fieldman
                                                                   Lisa D. Hamilton-Fieldman
                                                                   Special Master




        3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                     2
